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                    IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF DELAWARE

   VOLTERRA SEMICONDUCTOR                    )
   LLC,                                      )
                                             )
                 Plaintiff,                  )
                                             )
     v.                                      ) C.A. No. 19-2240-CFC-SRF
                                             )
   MONOLITHIC POWER SYSTEMS,                 )
   INC.,                                     )
                                             )
                 Defendant.                  )


    DEFENDANT MONOLITHIC POWER SYSTEMS, INC’S MOTION TO
   EXCLUDE CERTAIN EXPERT TESTIMONY OF DR. JAMES DICKENS

          Pursuant to Federal Rules of Evidence 702 and 703, defendant Monolithic

  Power Systems, Inc. (“MPS”) respectfully moves to strike Paragraphs 14 and 149

  of the Reply Expert Report of Dr. James Dickens, P.E. Regarding Infringement of

  United States Patent Nos. 6,362,986; 7,525,408; and 7,772,955, and preclude

  Plaintiff’s expert Dr. James Dickens from testifying regarding direct infringement

  by the Evaluation Board. The grounds for this motion are set forth in MPS’s

  opening brief, filed herewith. Pursuant to D. Del. LR 7.1.1, counsel certifies that

  reasonable efforts have been made to reach agreement on the subject of this

  motion.
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        WHEREFORE, MPS respectfully requests that the Court grant this motion

  and enter the attached proposed order.




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   Dated: November 19, 2021




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